






Becker v. State






COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS

)
   )    No. 08-05-00246-CR
)
EX PARTE:  VICTOR AGUILAR&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appeal from
)
)     346th District Court
)
) of El Paso County, Texas
)
)    (TC# 20050D01930)  

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Victor Aguilar appeals from an order denying pretrial habeas corpus relief.  We dismiss the
appeal as moot.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant and a co-defendant were arrested and charged with capital murder on February 3,
2005.  On May 3, 2005, Appellant filed a pretrial writ of habeas corpus application and motion for
personal recognizance bond based on Article 17.151 of the Code of Criminal Procedure.  The
following day, May 4, 2005, a grand jury returned a capital murder indictment.  Following a hearing
on the writ, the trial court entered an order setting Appellant’s bond at $100,000 ($50,000 surety and
$50,000 personal recognizance bond).  On June 29, 2005, the trial court entered a written order
denying habeas corpus relief.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant filed her brief in this appeal on October 17, 2005 complaining that the trial court
had erred in denying habeas corpus relief.  That same day, Appellant posted bail in the type and
amount set by the trial court.  The State filed a motion to dismiss the appeal as moot because
Appellant had posted bail.  Appellant did not file any response to the motion.  Initially, the Court
denied the State’s motion, but we have reconsidered our ruling and believe the appeal should be
dismissed as moot.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A defendant may file a pretrial writ of habeas corpus seeking bail reduction or release on
personal recognizance bond.  Tex.Code Crim.Proc.Ann. arts. 11.24, 17.151 (Vernon 2005).  An 
appeal from the denial of this type of writ is rendered moot if the defendant posts bail and is released. 
See Ex parte Guerrero, 99 S.W.3d 852, 853 (Tex.App.--Houston [14th Dist.] 2003, no pet.); Ex
parte Linville, No. 10-03-278-CR, 2003 WL 22937920, *1 (Tex.App.--Waco Dec. 10, 2003, no
pet.)(not designated for publication); Ex parte Zachery, No. 05-03-00796-CR, 2003 WL 22137943,
*1 (Tex.App.--Dallas Sep. 17, 2003, no pet.)(not designated for publication).  The dismissal of an
appeal under these circumstances is based on the long-held rule that where the premise of the habeas
corpus application is destroyed by subsequent developments, the legal issues raised thereunder are
moot.  Ex parte Guerrero, 99 S.W.3d at 853; Bennet v. State, 818 S.W.2d 199, 200 (Tex.App.--Houston [14th Dist.] 1991, no pet.).  The appeal is dismissed as moot.


May 4, 1006&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;                                                                         
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ANN CRAWFORD McCLURE, Justice

Before Barajas, C.J., McClure, and Chew, JJ.

(Do Not Publish)


